             Case 6:18-cv-01586-MK     Document 14            Filed 11/13/18   Page 1 of 2




1
     Damian P. Richard, Esq. (SBN 145953)
2    SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
     1545 Hotel Circle South, Suite 150
3
     San Diego, CA 92108-3426
4    Tel: 619/758-1891
5
     drichard@sessions.legal
     Attorney for Defendants
6
     Genesis FS Card Services, Inc., and
7    The Bank of Missouri (erroneously sued as
     Mid-America Bank & Trust)
8

9    Kyle W. Schumacher, Esq. (SBN 121887)
10
     SAGARIA LAW, P.C.
     1050 SW 6th Ave., Suite 1100
11   Portland, OR 97204
12   Tel: 503-913-9354
     kschumacher@sagarialaw.com
13
     Attorneys for Plaintiff Kathy Taylor
14

15
                         UNITED STATES DISTRICT COURT
                     DISTRICT OF OREGON - EUGENE DIVISION
16

17   KATHY TAYLOR,                   )               Case No. 6:18-CV-01586-MK
                                     )
18
                   Plaintiff,        )               STIPULATION TO DISMISS CASE
19                                   )               WITHOUT PREJUDICE PURSUANT
     v.                              )               TO CONTRACTUAL ARBITRATION
20
                                     )               BEFORE THE AMERICAN
21   MID-AMERICA BANK & TRUST;       )               ARBITRATION ASSOCIATION AND
22
     GENESIS FS CARD SERVICES, INC., )               PROPOSED ORDER
                                     )
23                 Defendants.       )
24                                   )
25
           Defendants Genesis FS Card Services, Inc., and The Bank of Missouri
26
     (erroneously sued as Mid-America Bank & Trust) (“Defendants”) have asserted the
27
     existence of a binding arbitration agreement which covers the alleged claims of
28
     Plaintiff Kathy Taylor (“Plaintiff”). As such, Defendants, together with Plaintiff,


                                     Stipulation and Proposed Order
                                                    1
             Case 6:18-cv-01586-MK     Document 14            Filed 11/13/18   Page 2 of 2




1
     hereby stipulate to dismiss the above-referenced action, without prejudice, in order
2
     to complete contractual arbitration before the American Arbitration Association.
3
           IT IS THEREFORE STIPULATED, by and between Plaintiff and
4
     Defendants, through their respective counsel, that the action be dismissed, without
5
     prejudice, in order to complete contractual arbitration before the American
6
     Arbitration Association.
7
     DATED:                         SESSIONS, FISHMAN, NATHAN &
8
     November 13, 2018              ISRAEL, LLP
9

10
                                    /s/ Damian P. Richard
                                    Damian P. Richard
11                                  Attorney for Defendants
12                                  Genesis FS Card Services, Inc., and
                                    The Bank of Missouri (erroneously sued as
13
                                    Mid-America Bank & Trust)
14
     DATED:                         SAGARIA LAW, P.C.
15
     November 13, 2018
16                                  /s/ Kyle W. Schumacher
17
                                    Kyle W. Schumacher
                                    Attorney for Plaintiff
18                                  Kathy Taylor
19

20

21
             PURSUANT TO STIPULATION, IT IS HEREBY ORDERED
22         That this case is hereby dismissed, without prejudice, so the parties may
23   complete    contractual    arbitration        before        the   American     Arbitration
24   Association.
25

26   DATED: __________, 2018
27                                             _________________________________
28                                             Judge Mustafa T. Kasubhai



                                     Stipulation and Proposed Order
                                                    2
